                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

 NATHANIEL HIERS,

                 Plaintiff,

 v.                                             Civil Case No. 4:20-cv-00321-SDJ

 THE BOARD OF REGENTS OF THE
 UNIVERSITY OF NORTH TEXAS SYSTEM,
 et al.,

                Defendants.


                      PLAINTIFF’S UNOPPOSED MOTION
          TO EXCEED PAGE LIMIT AND EXTEND THE TIME TO RESPOND TO
                      DEFENDANTS’ MOTION TO DISMISS
      Plaintiff respectfully asks this Court to extend the page limit for his response

to Defendants’ motion to dismiss by ten pages and to extend the deadline for that

response by fourteen days. This would make Plaintiff’s response of no more than forty

pages due on August 27, 2020.

      Local Rule 7(a)(1) limits dispositive motions and responses to them to thirty

pages without leave of court. This Court granted Defendants ten additional pages for

their motion to dismiss brief, which was filed July 30, 2020. To respond fully to

Defendants’ arguments regarding complex constitutional, jurisdictional, and state-

law issues, Plaintiff also respectfully requests an identical ten-page extension.

      Similarly, Plaintiff also asks this Court for a two-week extension of the default

fourteen-day deadline under Local Rule 7(e) to respond to motions. Defendants

received two extensions—a 30-day and 15-day extension, respectively—to juggle

other pressing matters and to prepare their lengthy motion to dismiss. Plaintiff’s

counsel likewise have pressing deadlines in other matters, and thus need this

extension of time to fully brief the many issues that Defendants raise.

      Defendants have consented to both extensions.




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      Respectfully submitted on the 31st day of July, 2020.

/s/ Michael R. Ross
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                          CERTIFICATE OF CONFERENCE
      I certify that I conferred with Defendants’ Counsel via email on July 30th, 2020

on this motion. Defendants’ counsel stated that Defendant is unopposed to the relief

sought in this motion.

                                              /s/ Michael R. Ross
                                              Michael R. Ross

                             CERTIFICATE OF SERVICE
      I certify that a true and correct copy of this foregoing motion has been served

on Defendants by electronic notification through the ECF system of the United States

District Court for the Eastern District of Texas, Sherman Division, on July 31, 2020.

                                              /s/ Michael R. Ross
                                              Michael R. Ross




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